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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                EL DORADO DIVISION


UNITED STATES OF AMERICA                                                             PLAINTIFF


VS.                             CASE NO: 1:13-CR-10024-002


JEWEL EASTER                                                                       DEFENDANT


                                            ORDER

       Before the Court is a Motion to Dismiss filed by the United States of America. (ECF No.

59). Pursuant to Fed R. Crim P. 48(a), the United States moves the Court to dismiss the Indictment

filed on September 18, 2013, in this matter. Upon consideration of the same, the Court is of the

opinion that Motion should be granted.       Therefore, the Indictment filed in this matter is

DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED, this 16th day of April, 2015.



                                                       /s/ Susan O. Hickey
                                                    Susan O. Hickey
                                                    United States District Judge
